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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


      GREGORY AREGOOD, JR.,                          )
      et al.                                         )
                        Plaintiffs,                  )
                                                     )
                          vs.                        )         No. 1:14-cv-00274-SEB-TAB
                                                     )
      GIVAUDAN FLAVORS                               )
      CORPORATION,                                   )
      et al.                                         )
                                  Defendants.

         ORDER ON GIVAUDAN’S MOTION FOR SUMMARY JUDGMENT
                 ON PLAINTIFFS’ DESIGN DEFECT CLAIM

         Pursuant to the Court’s Order dated June 1, 2017, the remaining defendant,

  Givaudan Flavors Corporation (“Givaudan”), has moved for summary judgment on the

  Plaintiffs’ 1 claim that they were injured because of Givaudan’s defective design of butter

  flavors sold to Plaintiffs’ employer ConAgra Snack Foods Group (“ConAgra”). [Dkt. No.

  572.] For the reasons stated herein, the Motion for Summary Judgment is GRANTED.

                                I. FACTUAL BACKGROUND

                                A. PROCEDURAL HISTORY

         On June 1, 2017, summary judgment was entered in favor of Givaudan on Counts I

  (strict liability – defective condition), II (failure to warn), and III (common law negligence)


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   Plaintiffs are: Gregory Aregood, Jr., Rick Arndt, Sandy Arndt, David Black, Luther Daniel Cole,
  Rick Ellis, Rhonda Gross, Michele Hedden, Leslie Hinman, Robert Holbrook, Kathy Howard,
  Michael Hudak, Marvin Jeffrey, Grace Jones, Kent Korniak, Shirley Legrand, Stephen Lilly, Bob
  Maciejewski, Jr., Janalu Mckay, Randi Nagel, Laura Riley, Sharon Smith, William Tompkins,
  Brian Vallee, Dave Walker, Rebecca Yoder, and Linda Zickmund.
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  as to all Plaintiffs. Dkt. No. 570. All that remained thereafter was Plaintiffs’ claim alleging

  defective design. See, generally, Compl. At the time, the jury trial as to the Stage 1

  Plaintiffs was set to begin on Monday, July 17, 2017, Dkt. No. 539; and the final pretrial

  conference for same was set for Friday, June 16, 2017, Dkt. No. 554; and Givaudan’s

  Motions in Limine (collectively, the “Limine motions”) were fully briefed. In considering

  the Limine motions, the Court determined that at least one of them, Givaudan’s Sixth

  Motion in Limine (directed to the absence of evidence or opinions regarding the alleged

  defective design or unreasonably dangerous condition of Givaudan’s butter flavors), could

  be dispositive of Plaintiffs’ remaining claim if it were granted. See Dkt. No. 571.

  Therefore, in order to give Plaintiffs the opportunity to address whether a material question

  of fact existed on all the elements of their defective design claim in light of Givaudan’s

  Sixth Motion in Limine, the Court ordered summary judgment briefing on that claim. Id.

         In its opening brief, Givaudan not only relied upon its Sixth Motion in Limine, it

  claimed that its First (directed to evidence or opinions based on a National Institute for

  Occupation Safety and Health (“NIOSH”) air sampling method), Second (directed to

  evidence or opinions of general causation), and Third (directed to evidence or opinions of

  Charles Pue, M.D., on specific causation) Motions in Limine, if granted, would also be

  dispositive of Plaintiffs’ remaining claim. See, generally, Dkt. No. 573. In response,

  Plaintiffs re-asserted their arguments on their failure to warn claim, affirmatively seeking

  reconsideration of that claim; and then argued the merits of all of the Motions in Limine




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  raised by Givaudan. See Dkt. No. 583 at 19-54. 2 Because we conclude that Givaudan’s

  Sixth Motion in Limine is dispositive of Plaintiffs’ remaining claim, we decline to address

  the other Limine Motions.

                                B. FACTUAL BACKGROUND

         The undisputed facts and the facts taken in the light most favorable to the Plaintiffs

  are summarized below. See Estate of Cole v. Fromm, 94 F.3d 254, 257 (7th Cir. 1996).

         Plaintiffs worked in various capacities at a ConAgra microwave popcorn packaging

  facility located in Rensselear, Indiana (the “Plant”). Dkt. No. 457 at 1. Plaintiffs allege

  that their exposure to butter flavors that contained diacetyl, which were sold to ConAgra

  by Givaudan, caused them to develop respiratory injuries. Id.

          Epidemiology is the study of the distribution and determinants (such as causes and

  risk factors) of health-related states and events in specified populations. Dkt. No. 573 at

  3-4. Occupational medicine addresses the detection, prevention, and treatment of diseases

  caused by hazards to which workers are exposed in their workplaces. Id. at 4.

         Allen J. Parmet, M.D., M.P.H. (“Dr. Parmet”), is a board certified occupational

  medicine physician whom Plaintiffs designated as an expert. Id. Dr. Parmet is not a food

  scientist or a flavor chemist, and he never designed a butter flavor. Id. at 5. Dr. Parmet

  testified that if adequate engineering controls or respirators or proper processes are




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   To streamline this Order, unless otherwise noted, the Court cites to the ECF page number or
  numbers where the relevant facts are set forth in the parties’ briefs and such citation should be
  presumed to include the exhibit(s) cited therein.
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  implemented, butter flavors that contain diacetyl can be used safely. Dkt. No. 573-1,

  Parmet Dep. at pp.121-22.

         Robert J. Harrison, M.D., M.P.H. (“Dr. Harrison”), is board certified in preventative

  medicine and occupational medicine and practices in the field of epidemiology; Plaintiffs

  identified Dr. Harrison as an expert. Dkt. No. 573 at 4. He has been treating patients for

  30 years and has seen thousands of workers with occupational lung disease. Id. Dr.

  Harrison has no background or training in food science and is not qualified to design a

  butter flavor. Id. Dr. Harrison testified that he is not offering an opinion on whether the

  butter flavor that Givaudan supplied to ConAgra was defective in design. Dkt. No. 585-

  15, Harrison Dep. at p.81. He further testified that butter flavors that contain diacetyl could

  be used safely if the production process were completely enclosed. Id. at p.80.

         Charles A. Pue, M.D. (“Dr. Pue”), also designated by Plaintiffs as an expert, is not

  a food scientist or a flavor chemist and has never designed a butter flavor. Dkt. No. 573 at

  5. He has never performed any analysis of butter flavors or diacetyl because that is beyond

  the scope of his practice. Id.

         Givaudan designated David Bratton (“Bratton”) as an expert witness. Dkt. No. 583

  at 14. Plaintiffs reserved the right to use expert testimony from any expert witness

  designated by Givaudan. Id. Bratton is the most senior flavor chemist at Givaudan, and in

  1992, he began to make artificial butter flavors there. Id. Bratton testified that during his

  time at Givaudan developing butter flavors, he had no knowledge that there were workers

  with lung disease in its plants or that experts claimed that diacetyl could cause severe lung

  disease. Id. at 15. There were no toxicologists working in Bratton’s lab to help create

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  butter flavors. Id. Bratton testified that the flavors he developed for sale to ConAgra were

  custom-made exclusively for that company and that ConAgra ultimately decided whether

  the taste and smell were acceptable. Id.

         In a 2006 deposition taken in another case, Bratton testified that Givaudan made and

  sold diacetyl-free butter flavors for popcorn in 1991. Dkt. No. 583-6, Bratton 2006 Dep.

  at pp.12-13.    In a 2010 deposition taken in yet another case, Bratton testified that

  ingredients that were used in diacetyl-free butter flavors in 2010 were available in 1989.

  Dkt. No. 583-7, Bratton 2010 Dep. at pp.15-16. In his most recent deposition in 2017,

  Bratton testified that “if there was a consideration for hazard with diacetyl then that would

  be eliminated along with it being gotten rid of.” Dkt. No. 583-1, Bratton 2017 Dep. at p.77.

         Bratton confirmed that Givaudan made diacetyl-free butter flavors that were

  acceptable to ConAgra in 2007. Dkt. No. 585-31, Bratton Dep. at pp.33-34; Dkt. No. 583-

  1, Bratton 2017 Dep. at 74-76. Bratton testified that no one had ever discussed issues

  concerning occupational exposures to diacetyl or diacetyl-containing products, or a NIOSH

  report that employees exposed to flavoring containing diacetyl were at risk of developing

  severe occupational lung disease.      Dkt. No. 583-1, Bratton 2017 Dep. at pp.73-74.

  However, these issues and report were apparently conveyed by Givaudan to ConAgra at

  some point, along with suggested replacements for diacetyl-containing butter flavors. Id.

  at 73-76.

                        II. SUMMARY JUDGMENT STANDARD

         As stated by the Supreme Court, summary judgment is not a disfavored procedural

  shortcut, but rather it is an integral part of the federal rules as a whole, which are designed

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  to secure the just, speedy, and inexpensive determination of every action. See Celotex Corp.

  v. Catrett, 477 U.S. 317, 327 (1986); see also United Ass’n of Black Landscapers v. City

  of Milwaukee, 916 F.2d 1261, 1267-68 (7th Cir. 1990). Motions for summary judgment

  are governed by Federal Rule of Civil Procedure 56, which provides in relevant part: “The

  Court shall grant summary judgment if the movant shows that there is no genuine dispute

  as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

  Civ. P. 56(a).

         Once a party has made a properly-supported motion for summary judgment, the

  opposing party may not simply rest upon the pleadings but must instead submit evidentiary

  materials showing that a fact either is or cannot be genuinely disputed. Fed. R. Civ. P.

  56(c)(1). A genuine issue of material fact exists whenever “there is sufficient evidence

  favoring the nonmoving party for a jury to return a verdict for that party.” Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 249, (1986). The nonmoving party bears the burden of

  demonstrating that such a genuine issue of material fact exists. See Matsushita Elec. Indus.

  Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986); Oliver v. Oshkosh Truck

  Corp., 96 F.3d 992, 997 (7th Cir. 1996). It is not the duty of the Court to scour the record

  in search of evidence to defeat a motion for summary judgment; rather, the nonmoving

  party bears the responsibility of identifying applicable evidence. See Bombard v. Ft.

  Wayne Newspapers, Inc., 92 F.3d 560, 562 (7th Cir. 1996).

         In evaluating a motion for summary judgment, the Court must draw all reasonable

  inferences from undisputed facts in favor of the nonmoving party and view the disputed

  evidence in the light most favorable to the nonmoving party. See Estate of Cole v.

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  Fromm, 94 F.3d 254, 257 (7th Cir. 1996). The mere existence of a factual dispute, by itself,

  is not sufficient to bar summary judgment. Only factual disputes that might affect the

  outcome of the suit in light of the substantive law will preclude summary judgment.

  See Anderson, 477 U.S. at 248; JPM Inc. v. John Deere Indus. Equip. Co., 94 F.3d 270,

  273 (7th Cir. 1996). Irrelevant or unnecessary facts do not deter summary judgment, even

  when in dispute. See Clifton v. Schafer, 969 F.2d 278, 281 (7th Cir. 1992). If the moving

  party does not have the ultimate burden of proof on a claim, it is sufficient for the moving

  party to direct the Court to the lack of evidence as to an element of that claim. See Green

  v. Whiteco Indus., Inc., 17 F.3d 199, 201 & n. 3 (7th Cir. 1994). “If the nonmoving party

  fails to establish the existence of an element essential to his case, one on which he would

  bear the burden of proof at trial, summary judgment must be granted to the moving

  party.” Ortiz v. John O. Butler Co., 94 F.3d 1121, 1124 (7th Cir. 1996).

                                       III. ANALYSIS

         Plaintiffs’ remaining claim is brought under the Indiana Products Liability Act

  (“IPLA”). Generally, any claim under the IPLA has five elements: (1) harm, (2) to a

  foreseeable user or consumer, (3) by a product that was sold “in a defective condition

  unreasonably dangerous to any user or consumer,” (4) by a defendant that was in the

  business of selling the product, and (5) the product reached the user or consumer without

  alteration. Ind. Code § 34-20-2-1. See also Piltch v. Ford Motor Co., 778 F.3d 628, 632

  (7th Cir. 2015). A plaintiff may satisfy the third element by showing a design defect, a

  manufacturing defect, or a failure to warn. See Piltch, 778 F.3d at 632 (citing Hathaway

  v. Cintas Corp. Serv., Inc., 903 F. Supp. 2d 669, 673 (N.D. Ind. 2012); Natural Gas

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  Odorizing, Inc. v. Downs, 685 N.E.2d 155, 161 (Ind. Ct. App. 1997)). With respect to a

  design defect claim, a plaintiff must also show a breach of the duty of care, or negligence.

  Id. (citing Ford Motor Co. v. Rushford, 868 N.E.2d 806, 810 (Ind. 2007)).

         Plaintiffs argue that there is a question of fact as to whether or not Givaudan’s butter

  flavors were defectively designed because Plaintiffs’ experts opine that butter flavors that

  contain diacetyl cause lung diseases, and Givaudan’s expert (Bratton) testified that

  diacetyl-free butter flavors were available and used by some popcorn makers as early as

  1989. 3 Dkt. No. 583 at 17-24. However, under Indiana law, to show a defective design,

  Plaintiffs “‘must compare the costs and benefits of alternative designs’ and ‘show that

  another design not only could have prevented the injury but also was cost-effective under

  general negligence principles.’” Piltch, 778 F.3d at 632 (quoting Pries v. Honda Motor

  Co., 31 F.3d 543, 545-56 (7th Cir. 1994)). Although Plaintiffs argue otherwise, “expert

  testimony on an issue is required when the issue is not within the understanding of a lay

  person.” Id. (citing Daub v. Daub, 629 N.E.2d 873, 878 (Ind. Ct. App. 1994); referencing

  Owens v. Ford Motor Co., 297 F. Supp. 2d 1099, 1103-04 (S.D. Ind. 2003)). Here,

  presuming without deciding that Plaintiffs’ causation experts’ testimony is admissible,

  Plaintiffs provide no expert testimony on the costs and benefits of a diacetyl-free butter




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    Plaintiffs also resurrect their failure to warn claim and ask that the Court reconsider its decision
  to grant summary judgment on that claim in favor of Givaudan. Dkt. No. 583 at 20-23. Plaintiffs
  present no new evidence or argument in support of this claim; therefore, the Court declines to
  reconsider the prior order. See Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,
  1191 (7th Cir. 1990) (stating that a motion to reconsider is “valuable” when “the Court has patently
  misunderstood a party, or has made a decision outside the adversarial issues presented to the Court
  by the parties, or has made an error not of reasoning but of apprehension”).
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  flavor or that the diacetyl-free butter flavors that existed prior to 2007 were cost-effective

  alternatives under general negligence principles. These elements cannot be “assumed”

  from Plaintiffs’ causation evidence or Bratton’s testimony. The costs and benefits of

  diacetyl-free butter flavors, or their cost effectiveness, is not common knowledge. Further,

  the fact that a diacetyl-free alternative existed is not enough; Plaintiffs must present

  evidence that the diacetyl-free butter flavors’ risks, benefits, and costs were favorable. See

  Bourne v. Marty Gilman, Inc., 452 F.3d 632, 637-38 (7th Cir. 2006) (stating that the fact

  that a safer product could be made does not mean the accused product was defective)

  (discussing McMahon v. Bunn-O-Matic Corp., 150 F.3d 651, 659 (7th Cir. 1998)). In the

  absence of such evidence, Plaintiffs cannot meet their burden to prove that Givaudan failed

  to exercise reasonable care under the circumstances as required by the IPLA. Therefore,

  summary judgment in favor of Givaudan is required on Plaintiffs’ design defect claim.

                                                IV. CONCLUSION

           For the reasons stated herein, Defendant Givaudan Flavors Corporation’s Motion

  for Summary Judgment as to all Plaintiffs’ claims based on design defect is GRANTED.

  The Court will enter judgment accordingly.

           IT IS SO ORDERED.


            10/18/2017                                                   _______________________________
   Date: _________________
                                                                          SARAH EVANS BARKER, JUDGE
                                                                          United States District Court
                                                                          Southern District of Indiana

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